             Case 2:12-cr-00432-JAM Document 20 Filed 03/14/13 Page 1 of 2


 1   JOSEPH SCHLESINGER, Bar #87692
     Acting Federal Defender
 2   BENJAMIN D. GALLOWAY, Bar #214897
     Assistant Federal Defender
 3   Designated Counsel for Service
     801 I Street, 3rd Floor
 4   Sacramento, California 95814
     Telephone: (916) 498-5700
 5
     Attorney for Defendant
 6   ARTURO GONZALEZ-MORAN
 7
 8                        IN THE UNITED STATES DISTRICT COURT
 9                      FOR THE EASTERN DISTRICT OF CALIFORNIA
10
11
12   UNITED STATES OF AMERICA,       )       No. 2:12-cr-0432 JAM
                                     )
13                  Plaintiff,       )       STIPULATION AND ORDER CONTINUING
                                     )       STATUS CONFERENCE AND EXCLUDING
14        v.                         )       TIME
                                     )
15   ARTURO GONZALEZ-MORAN and       )       Date: April 23, 2013
     GILBERTO LORENZO LUVIO,         )       Time: 9:45 a.m.
16                                   )       Judge: Hon. John A. Mendez
                    Defendants.      )
17                                   )
     _______________________________ )
18
19        IT IS HEREBY STIPULATED and agreed to between the United States of
20   America through MICHAEL McCOY, Assistant U.S. Attorney; defendant
21   ARTURO GONZALEZ-MORAN by and through his counsel, BENJAMIN GALLOWAY,
22   Assistant Federal Defender; and defendant GILBERTO LORENZO LUVIO, by
23   and through his counsel, PATRICK McCARTHY, that the status conference
24   set for March 19, 2013 be continued to April 23, 2013 at 9:45 a.m.
25        The reason for this continuance is to allow defense counsel
26   additional time to review discovery with the defendant, to examine
27   possible defenses and to continue investigating the facts of the case.
28   / / /
            Case 2:12-cr-00432-JAM Document 20 Filed 03/14/13 Page 2 of 2


 1         The parties stipulate that the ends of justice served by the
 2   granting of such continuance outweigh the interests of the public and
 3   the defendant in a speedy trial.

 4      Speedy trial time is to be excluded from the date of this order

 5   through the date of the status conference set for April 23, 2013,

 6   pursuant to 18 U.S.C. § 3161 (h)(7)(B)(iv) [reasonable time to prepare]

 7   (Local Code T4).

 8   DATED: March 14, 2013                 Respectfully submitted,
 9                                         JOSEPH SCHLESINGER
                                           Acting Federal Defender
10
                                           /s/ Benjamin Galloway
11                                         BENJAMIN GALLOWAY
                                           Assistant Federal Defender
12                                         Attorney for Defendant
                                           ARTURO GONZALEZ-MORAN
13
14                                         /s/ Patrick McCarthy
                                           PATRICK McCARTHY
15                                         Attorney for Defendant
                                           GILBERTO LORENZO LUVIO
16
     DATED: March 13, 2013                 BENJAMIN B. WAGNER
17                                         United States Attorney
18                                         /s/ Benjamin Galloway for
                                           MICHAEL McCOY
19                                         Assistant U.S. Attorney
                                           Attorney for Plaintiff
20
21
22                                   O R D E R
23      IT IS SO ORDERED.
24
     DATED: March 14, 2013
25                                         /s/ John A. Mendez
                                           HON. JOHN A. MENDEZ
26                                         United States District Judge
27
28


     Stipulation/Order                      -2-
